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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MONTANA
                         MISSOULA DIVISION

 UNITED STATES OF AMERICA,                      6:18-PO-5017-KLD

                     Plaintiff,                 Violation: F5362316

          vs.
                                                ORDER ESTABLISHING
 TOMMY L. CURRIER,                              FINES AND FEES

                     Defendant.


      Based upon the United States’ motion, and good cause appearing,

      IT IS HEREBY ORDERED that the fine in the above-referenced case is set

at $90.00 and the special assessment and processing fees are set at $40.00 for a

total of $130.00.

      Dated this 7th day of March, 2022.



                                       ____________________________
                                       Kathleen L. DeSoto
                                       United States Magistrate Judge




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